
99 N.Y.2d 530 (2002)
In the Matter of the Estate of WANDA S. TARKA, Deceased.
MELANIE TARKA, Appellant; GREENFIELD STEIN &amp; SENIOR, LLP, Respondent.
Court of Appeals of the State of New York.
Submitted September 16, 2002.
Decided November 21, 2002.
Motion, insofar as it seeks leave to appeal from that portion of the Appellate Division order that affirmed the denial of appellant's motion to vacate a prior order of Surrogate's Court and for recusal of the Surrogate, dismissed upon the ground that such portion of the order sought to be appealed from does not finally determine the proceeding within the meaning of the Constitution; motion for leave to appeal otherwise denied.
